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                             STATE OF MICHIGAN
            IN THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW
                              BUSINESS COURT

COMERICA BANK,
          Plaintiff/Counter-Defendant,
                                                      Case No. 23-000557-CB
vs.
                                                      Hon. Timothy P. Connors
LIBERTARIAN PARTY OF MICHIGAN
EXECUTIVE COMMITTEE, INC.;
JOSEPH BRUNGARDT; MICHAEL
SALIBA; and ANGELA THORNTON,
a/k/a ANGELA CANNY,
            Defendants/Counter-Plaintiffs,

and

ANDREW CHADDERDON,
         Defendant.
                                                                                   ____/

Henry Stancato (P29538)                      C. Nicholas Curcio (P75824)
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Attorney for Comerica Bank                   Attorney for Libertarian Party of Michigan
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Grosse Ile, MI 48138-0270                    Michael Saliba, and Angela Thornton
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                                                                                   ____/

              DEFENDANT CHADDERDON’S INITIAL DISCLOSURES
                       PURSUANT TO MCR 2.302(A)




                                      EXHIBIT 46
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       Defendant Andrew Chadderdon (“Defendant” or “Chadderdon”), by and through legal

counsel, Hooper Hathaway, P.C hereby submits his initial disclosures without waiving any

objections:

                                 PRELIMINARY STATEMENT

       This case is in the preliminary phases of discovery and investigation and, therefore, the

initial disclosures set forth below are necessarily made without full knowledge of the facts,

circumstances, and legal theories involved in the case. Defendant makes such disclosures in good

faith effort to comply with MCR 2.302(A) and based upon information currently available to them.

Consequently, further discovery, investigation, legal research, and/or analysis may supply

additional facts and new meaning to known facts, as well as establish new factual conclusions and

legal contentions, all of which may lead to changes, additions to, and variations from these initial

disclosures. Accordingly, Defendant reserves his right to amend these disclosures as permitted by

MCR 2.302(E), local rules, and/or Order of this Court consistent with subsequent developments

in this case. Nothing in this initial disclosure shall constitute a waiver of any claims, defenses,

privileges, or objections Defendant has or will have in this lawsuit. Furthermore, no admissions

are intended through the service of this initial disclosure.

  I.   Factual Basis of Defendant’s Defenses (MCR 2.302(A)(1)(a))

       In early 2022, a distinct faction or divide appeared to have arisen amongst the leadership

and members of the Libertarian Party of Michigan (“LPM”). Due to perceived differences between

these two sides, several board members resigned from their positions. On June 14 and 15, 2022,

Chair Tim Yow and First Vice-Chair Ben Boren, along with Brandon Waryzbok and Jami Van

Alstine, resigned from the Libertarian Party of Michigan Executive Committee, (“LPMEC”),

which is the governing board of the Libertarian Party of Michigan, (“LPM”). At that time,

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Defendant Andrew Chadderdon, (“Chadderdon”), was the Second Vice-Chair and, per the bylaws,

ascended to the chairmanship due to the resignations. A convention was previously scheduled to

be held on July 9, 2022, with notice of this convention sent on June 8, 2022.

   Initially after the resignations, there was some uncertainty on how to fill the vacancies.

Chadderdon began researching by contacting several members of the LPM and the national

Libertarian Party. He spoke with Bill Hall, who informed Chadderdon of the existence of the LPM

Corporate Bylaws. However, not a single member of the current LPMEC had been aware of their

existence. The Corporate Bylaws were found to be valid, as Chadderdon was provided the

executed copies of the corporate charter, corporate bylaws, and records in the minutes showing

their adoption. On June 18, 2022, Chadderdon presented his findings to the LPMEC, which

included the procedures regarding vacancies. These procedures made it clear that Chadderdon was

now the Chair.

   The very next day, on June 19, 2022, Dave Canny – who was on the side of the resigning

members – gave notice of a motion to the LPMEC for a Vote of No Confidence against

Chadderdon, in order to “force” a vote for Chair at the July 9, 2022 convention. On June 29, 2022,

Dave Canny sent notice of this motion – for a Vote of No Confidence and to fill vacancies – to all

of the members of the LPM, without authorization from the Chair, Secretary, or Communications

Director, nor by vote of the LPMEC. At the LPMEC Executive Committee meeting on June 29,

2022, Chadderdon sought approval to hire an attorney and parliamentarian for outside opinions

regarding the bylaws to give guidance to the LPMEC. The LPMEC voted to hire attorney Eric

Doster for a 2-hour consultation, but voted against hiring a parliamentarian. On July 5, 2022,

attorney Eric Doster met with the LPMEC, and advised the committee that any corporate law does

not supersede the corporate bylaws, and the actions of the convention rule absent a violation of the



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bylaws. Mr. Doster further stated, however, that he was not informed of any notice requirements

of the bylaws.

    On July 9, 2022, the LPM held a candidate Nominating Convention during which Chair

Chadderdon ruled that filing the board vacancies was out of order due to failure to give proper

notice of filing the vacancies as well as the Motion of No Confidence, as the bylaws require at

least 30 days’ notice to members.1 His ruling was appealed, so he voluntarily relinquished the

chairmanship of that meeting only as he could not bear responsibility for what he believed was a

blatant disregard of the bylaws and rules. The vacancies were filled, and the vote of No Confidence

removed Chadderdon from his board position on the LPMEC. The vacancies were filled in part as

follows: Joseph Brungardt as Chair, Mike Saliba as First Vice Chair, and Mary Buzuma as Second

Vice Chair. The vote of No Confidence motion also differed substantially in content than the notice

of the motion. At some point, Joseph Brungardt (“Brungardt”) was given signer authorization over

the LPM’s bank accounts at Comerica Bank.

    On November 18, 2022, Chadderdon appealed his removal and the election to fill vacancies to

the LPMI Judicial Committee, citing a breach of the bylaws. Parliamentarian Jonathan Jacobs

submitted a written opinion in support of Chadderdon’s appeal. Parliamentarian Josh Martin

submitted a written opinion in support of the respondents and in opposition to Chadderdon’s

appeal. On December 9, 2022, the LPMI Judicial Committee held its hearing on the Chadderdon

appeal. On December 13, 2022, the LPMI Judicial Committee held a meeting to decide the matter,

and produced minutes and a written opinion, in which it decided that Chadderdon was the Chair.



1
  The first resignation was on June 14, 2022, which is less than 30 days prior to the convention.
Therefore it would be impossible to give the required 30-days notice to hold elections to fill
those vacancies by the July 9, 2022 convention. However, it has since been clarified that notice
for business at a candidate nominating convention would require 60-days notice before the date
of the convention.
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       We have decided to grant Mr. Chadderdon’s appeal. The vote of no confidence, the
       election of officers, and the election of Congressional district representatives
       conducted at the Candidate Nominating Convention on July 9th are to be considered
       out of order as a violation of our bylaws and parliamentary procedures. The
       Libertarian Executive Committee shall be reverted to its composition as of July 8th.
       Any actions taken by the erroneous board which are of a continuing nature are null
       and void.

   At this point, the insurgent faction – which includes Joe Brungardt, Michael Saliba, and Angela

Thornton (aka Canny) – started to organize and make efforts to again oust Chadderdon and seize

control of the party. On December 26, 2022, the insurgent faction circulated a petition to members

of the LPM – which violated their signed NDAs to only use the party database for approved

communications – in which they called for a special convention to vote for a motion of no

confidence in Chadderdon and a vote to fill vacancies created by the LPMI Judicial Committee’s

decision, which invalidated the previous July 9, 2022 election. On January 3, 2023, the insurgent

faction submitted its petition with a sufficient number of signatures to trigger the organization of

a special convention. On January 6, 2023, the LPMEC held a special meeting and a motion passed

to authorize the Chair to make arrangements for a special convention. On January 25, 2023, the

LPMEC passed a motion to hold the special convention on April 1, 2023 in Wixom. Also during

this meeting, Joe Brungardt moved to give Chadderdon access to the LPM’s bank accounts at

Comerica Bank, which was approved without objection. Lastly, a motion to update LARA filings

to reflect the current board of officers was approved without objection. On January 31, 2023, the

insurgent faction held its own meeting in which it declared itself to be the legitimate board of the

LPM, and issued a competing call to a regular convention, also on April 1, 2023, but in Lansing.

The self-appointed members of this insurgent board based their declaration on alleged “new

information” that made the Judicial Committee’s decision invalid, so they were reinstated by




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default.2 Certain members of this insurgent board unlawfully obtained the LPM’s member contact

database and used it to send emails to members, again violating their NDAs. These emails used

the national Libertarian party’s trademarks and claimed that the Wixom convention was cancelled

and announced the Lansing convention. They set up a “michiganlp.net” domain to impersonate the

legitimate “michiganlp.org” domain. They further sent emails soliciting donations and member

fees in the name of LPM. They also attempted to contact the venue in Wixom to cancel that

reservation but were unsuccessful.

    Brungardt never accompanied Chadderdon to Comerica Bank to have his name added as an

authorized signer on the LPM accounts, despite being the person that motioned for this to occur.

Instead, on February 13, 2023, he purportedly went to Comerica Bank and signed documentation

to add Michael Saliba (“Saliba”) and Angela Thornton aka Canny (“Thornton”) as additional

signers on at least one of LPM’s accounts.3

    On February 15, 2023, attorney Eric Doster sent Brungardt a letter on behalf of the LPM,

demanding that he and the other members of this insurgent board immediately terminate any

further misrepresentation as having any authority to govern the affairs of the LPM and to return

all property belonging to the LPM. On February 16, 2023, the Chair of the Libertarian National

Committee, Angela McArdle, sent a letter to Brungardt demanding that he and the insurgent board

cease using the LPM’s registered trademarks, return all property belonging to LPM, and

immediately terminate any further misrepresentation that they are affiliated with the national

Libertarian party. Brungardt and the other members of the insurgent faction paid no heed to these




2
  Under the bylaws, the insurgent board could have appealed the LPMI Judicial Committee’s
decision, but they have not taken that lawful avenue.
3
  This information was found in Plaintiff Comerica Bank’s First Amended Complaint,
paragraphs 12-13.
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letters.

    On February 22, 2023, Chadderdon was forced to go to Comerica Bank and prove that he was

the legitimate Chair of the LPMEC in order to regain control of LPM’s assets from the insurgent

board. At this time, LARA records showed that Daniel Ziemba (“Ziemba”) was the secretary and

Norm Peterson was the treasurer of LPMEC. Comerica Bank required certification from Secretary

Ziemba that Chadderdon was the legitimate Chair before processing his request to be substituted

as signer on LPM accounts.4 On February 23, 2023, Chadderdon and Ziemba returned to the bank

and provided several documents proving that Chadderdon was the legitimate Chair. Accordingly,

Comerica Bank processed Chadderdon’s request. On February 27, 2023, Chadderdon opened three

new accounts for LPM at Comerica, and transferred the funds from the three previous accounts to

the three new accounts, leaving $1,000.41 in the old general account to cover any previously

authorized automated subscriptions or payments for ongoing expenses. At no point did

Chadderdon request that Comerica Bank close any of the three old accounts, despite two of them

having zero balances.

    According to Plaintiff Comerica Bank, on March 9, 2023, Saliba appeared at Comerica Bank

to complain about being removed as an account signer for LPM. On this same date, attorney Nick

Curcio transmitted a letter purporting to act as attorney for LPMEC and asserted on behalf of

LPMEC that Chadderdon was not a LPMEC officer and that some of the LARA filings for LPMEC

were fraudulent. On March 10, 2023, Saliba returned to Comerica Bank with newly filed LARA

documentation that contradicted the previous LARA filings that showed Chadderdon to be




4
 As Treasurer Norm Peterson was resigning from the LPMEC for health reasons, Comerica
Bank stated that certification from Secretary Daniel Ziemba would be sufficient.
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president.5 Comerica Bank decided to terminate its deposit relationship with LPMEC and issued

cashier’s checks representing the closing balances for each of the four deposit accounts with

positive balances, which totaled $38,233.30. Comerica Bank mailed the cashier’s checks to the

address on record on its books at that time. Allegedly, defendants Brungardt, Saliba, and Thornton

contested to Comerica Bank the delivery of the cashier’s checks to that address.6 On April 6, 2023,

Plaintiff Comerica Bank brought the instant interpleader action. Upon Comerica Bank’s request,

Chadderdon has not deposited or cashed any of these cashier’s checks.

       On April 1, 2023, the insurgent board held its fraudulent convention in Lansing. On May 5,

2023, The Libertarian National Committee, Inc., (“LNC”), filed suit against Brungardt, Saliba,

Thornton, Rafael Wolf, Greg Stempfle, Jami Van Alstine, Mary Buzuma, and David Canny in the

United States District Court for the Eastern District of Michigan for trademark infringement and

other Lanham Act violations under 15 USC §§ 1114, 1125. On June 15, 2023, the LNC filed a

motion for preliminary injunction against those same defendants, which is scheduled for hearing

on August 23, 2023, before District Judge Judith E. Levy.

    II.   Legal Theories on which Defendant’s Defenses are Based (MCR 2.302(A)(1)(b))

              1. Plaintiff’s claims are barred, in whole or in part, because both the LPM Bylaws and

                 the Michigan Nonprofit Corporation Act require adherence to the Judicial

                 Committee’s December 13 and 19, 2022 decision, which invalidated Brungardt’s

                 selection as LPMEC Chair and recognized Chadderdon as the legitimate Chair.

              2. Plaintiff’s claims are barred, in whole or in part, because the affairs of the LPM and

                 the LPMEC are governed by the LPM bylaws and not by a state statute, as the First


5
  This information was found in Plaintiff Comerica Bank’s First Amended Complaint,
paragraphs 19-21.
6
  This information was found in Plaintiff Comerica Bank’s First Amended Complaint,
paragraphs 23-26.
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             Amendment to the United States Constitution requires that the political party rules

             prevail.

         3. Plaintiff’s claims are barred, in whole or in part, because the bylaws of the LNC

             state that there shall be no more than one state-level affiliate party in any one state,

             and the LNC does not recognize Brungardt, Saliba, or Thornton to be legitimate

             officers or representatives of the LPMEC.

         4. Plaintiff’s claims are barred, in whole or in part, because Section 535 of the

             Michigan Nonprofit Corporation Act (MCL 450.2535) does not apply to the

             LPMEC as it is organized on a directorship basis and has no members in law.

         5. Plaintiff’s claims are barred, in whole or in part, because on February 15, 2023,

             legal counsel for the legitimate LPM sent a cease-and-desist letter to Defendant

             Brungardt to immediately terminate any further misrepresentation as having any

             authority to govern the affairs of the LPM and the LPMEC and to return its

             property.

         6. Plaintiff’s claims are barred, in whole or in part, because the Libertarian National

             Committee, Inc., sent a cease-and-desist letter to Defendant Brungardt, demanding

             an immediate termination to any representations of being the legitimate Michigan

             state affiliate of the Libertarian National Committee, Inc., and use of its

             Trademarks, and from identifying as the recognized LPMEC.

         7. Plaintiff’s claims are barred, in whole or in part, because the Libertarian National

             Committee, Inc., has solely recognized Defendant Chadderdon as the legitimate

             chair of the LPMEC.

      Defendant further refers to his Answer to the First Amended Complaint, his papers, and



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 the theories identified during the course of discovery.

 III.   Individuals with Discoverable Information and the Subjects Thereof (MCR
        2.302(A)(1)(c))

            1. Andrew Chadderdon, c/o Hooper Hathaway. Chadderdon is expected to have
               discoverable information and evidence concerning the allegations in Plaintiff’s
               Complaint and any defenses or counterclaims asserted by the Defendants.

            2. Joseph Brungardt, Michael Saliba, and Angela Thornton-Canny, c/o Curcio Law
               Firm. These individuals are expected to have discoverable information and
               evidence concerning the allegations in Plaintiff’s Complaint and any defenses or
               counterclaims asserted by the Defendants.

            3. Individuals presently or previously affiliated with LPM, including Daniel Ziemba,
               Connor Nepomuceno, Eric Doster, and Jonathan M. Jacobs, who may have
               knowledge concerning the allegations in Plaintiff’s Complaint and any defenses or
               counterclaims asserted by Defendants.

            4. Individuals presently or previously affiliated with the LPMI Judicial Committee,
               including Connor Nepomuceno, Joshua M. Smith, and Robert W. Roddis, who may
               have knowledge concerning the allegations in Plaintiff’s Complaint and any
               defenses or counterclaims asserted by Defendants.

            5. Individuals presently or previously affiliated with LNC, including Angela
               McArdle, who may have knowledge concerning the allegations in Plaintiff’s
               Complaint and any defenses or counterclaims asserted by Defendants. Angela
               McArdle is c/o Fresh IP PLC and/or Hooper Hathaway.

            6. Rafael Wolf, Greg Stempfle, Jami Van Alstine, Mary Buzuma, and David Canny,
               c/o Curcio Law Firm. These individuals are expected to have discoverable
               information and evidence concerning the allegations in Plaintiff’s Complaint and
               any defenses or counterclaims asserted by the Defendants.

            7. Individuals presently or previously affiliated with Comerica Bank, including Jill
               Kwiecien, who may have knowledge concerning the allegations in Plaintiff’s
               Complaint and any defenses or counterclaims asserted by Defendants. Jill Kwiecien
               is c/o Stancato Tragge Wells PLLC.

            8. Any and all persons and entities referenced in Plaintiff’s Complaint.

            9. Those witnesses identified in discovery.

            10. Those witnesses identified in Plaintiff’s Witness List.


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            11. Those witnesses identified in Defendant’s Witness List.

            12. Those witnesses identified in Defendants/Counter-Plaintiffs’ Witness List.

            13. Any persons or entities subpoenaed, deposed, and/or noticed for deposition.

            14. Any persons or entities identified by Plaintiff’s counsel.

            15. Any persons or entities identified by Defendant’s counsel.

            16. Any persons or entities identified by Defendants/Counter-Plaintiffs’ counsel.

            17. Those witnesses listed in Plaintiff’s initial disclosures that Defendant choose to rely
                upon.

            18. Any and all rebuttal witnesses to be named.

            19. Any and all impeachment witnesses to be named.

            20. Any and all foundation witnesses to be named.

            21. Experts who have not been retained.

        Defendant asserts that discovery in this matter is ongoing, and a witness list will be filed

 in accordance with the Court’s scheduling order. Defendant reserves the right to supplement these

 initial disclosures of potential witnesses pursuant to MCR 2.302(E).


 IV.    Documents and ESI in Defendant’s Possession Supporting their Claims (MCR
        2.302(A)(1)(d))

       Defendant continues to search for and identify relevant documents in its possession and

 control, all of which are located either at Defendant’s places of business, or at the offices of Hooper

 Hathaway, P.C., unless otherwise specified.

       In addition to the above, Defendant will rely upon those non-privileged, non-work product,

 relevant documents that are in its possession, custody, or control (or that of its counsel), and that

 tend to support Defendant’s position to its claims and defenses in this litigation to the extent that

 they exist, including, without limitation, the following:


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       1. All documents identified or referenced in Defendant Chadderdon’s Answer to
          Plaintiff’s First Amended Complaint;

       2. Any related resumes of witnesses or parties;

       3. Documents requested and produced in the parties’ discovery requests;

       Through the identification of the categories of documents above, Defendant does not waive

 their rights to object to production of, or any request to produce, any specific document or

 documents, and Defendant expressly reserves the right to object to the production of all documents

 on the basis of attorney-client privilege and/or attorney work produce doctrine. Documents and

 things that fall within these categories, that are not privileged or otherwise protected from

 discovery, and that have not been produced, will be produced as agreed upon by the parties in

 accordance with local rules.      Investigation continues, and Defendant reserves the right to

 supplement these disclosures upon more information received.

  V.    Documents and ESI Outside of Defendant’s Possession Supporting their Claims
        (MCR 2.302(A)(1)(e))

       •   Documents identified in Plaintiff’s initial disclosures;

       •   Documents identified in Defendants/Counter-Plaintiffs’ initial disclosures;

       •   Documents produced during discovery; and

       •   Documents received in response to subpoenas served upon third parties throughout
           this litigation.

       Investigation of this matter continues.

 VI.    Computation of Damages (MCR 2.302(A)(1)(f))

        The amount of damages suffered by Defendant for Plaintiff’s initiation of this lawsuit is

 not yet known. Defendant is seeking attorney’s fees, costs, and other such remedy that the court

 finds is just, which cannot yet be fully calculated.

        Defendant further refers to any damages and costs identified in his Answer to the First

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 Amended Complaint, in his papers, and during the course of discovery. Investigation of this matter

 continues.

VII.     A Copy of Pertinent Insurance Policies (MCR 2.302(A)(1)(g))

         Defendant does not believe that any such document exists. If Defendant,

 Defendants/Counter-Plaintiffs, or Plaintiff identify any such document, they will provide a copy

 for the opposing party’s inspection.

VIII.    Anticipated Subject Areas of Expert Testimony (MCR 2.303(A)(1)(h))

         No decision has been made to date as to each and every expert that Defendant may call

 upon to testify at the time of trial. However, at this early stage of discovery, it is anticipated that

 expert testimony on parliamentarian rules and procedures, expert testimony on political party

 bylaws and procedures, as well as economic damages will be required. Additional areas of expert

 testimony may be identified, and Defendant will identify its experts as appropriate during the

 course of this litigation.



                                                Respectfully submitted,


 Dated: July 6, 2023                       By: /s/ Fawn Armstrong
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                                               Bruce T. Wallace (P24148)
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                                       PROOF OF SERVICE

           I hereby certify that on July 6, 2023, I electronically served the foregoing document via

 email on attorneys for all parties:

           hstancato@stwlawfirm.com

           ncurcio@curciofirm.com

           I declare that the above statements are true to the best of my knowledge, information and
 belief.



                                                        /s/ Fawn Armstrong
                                                        Fawn C. Armstrong (P74980)
                                                        HOOPER HATHAWAY, P.C.
                                                        Attorneys for Defendant Chadderdon




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